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THE HONORABLE JAMES L. ROBART

UNITED STATES DISTRICT COURT
\NESTERN DISTR]CT OF WASHINGTON

AT SEATTLE
CYWEE GROUP LTD.., CASE NO.: 2217-cv-00932-J'LR
Plaintiffs, ST..IFU_LATED MO_TIQN_AN_D _ _
V. {'llRQ-BQSEl-H OR])ER APPROVING
EXTENSION TO RESPOND TO
HTC CORPORATION; and HTC Al\/[ERICA, FIRST AMENDED Col\/[[)LAINT
INC`.,
NOTE ON MOTION CALENDAR‘.
D@f@nda“ts~ september 15, 2017

 

 

 

Plaintiff CyWee Group Ltd. (“Cy_Wee”) and Defendants HTC Corporation and HTC
America, Inc. (collectively, “HTC”) hereby stipulate:

WI-IEREAS, on June 16, 2017, CyWee filed a complaint in this action, which alleges
patent infringement (“Complaint”);

WHE`,REAS, on June 30., 2017, this Court approved the parties’ June 28, 2017 stipulation
Whereby the parties requested an extension for HTC’s deadline to answer or otherwise respond to
the Complaint to September 26, 2017;

WHEREAS, on July 6, 2017, CyWee filed a first amended complaint in this action (First
Amended. Complaint)', and

W`H ER`EAS, since the Court’s June 30, 2017 Order and the July 6, 2017 First Amended

Com_plaint, the parties have engaged in negotiations and discussions to resolve their dispute, and

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the parties Seek to undertake these negotiations and discussions Without the expense and
disruptive Impacts of active litigation

NOW THEREFORE, the parties to this stipulation agree, subject to the Court's approval,
as follows:

1. I-ITC Corporation and HTC America lnc.’s deadline `to move, answer, or otherwise
respond to the First Amended C-omplaint is October 26, 2017 .

2. By entering this stipulation, no party is Wa'iving any argument, right or defense.
Dated: S`eptember 15, 2017 Respectfully submitted,

S/ Gregorv L. Watts

Gregory L. Watts, WSBA #43 995
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(pro hac vice application pending)

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A££omeysfor Defendants
HTC Corporation and HTC America, Inc.

Dated: September 15, 2017 s/ David A. Lowe
David A. LoWe WSBA No. 24453
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Tim Biilick, WS_BA No. 46690
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Lowe Graham Jones PLLC
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AMENDED COMPLAINT Seattle, WA 98104-7036

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Arrorneysfor Plaintijj”CyWee Group Ltd.
3 W S G & RUSA
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CERTI_FICATE ()F SERVICE
l hereby certify that on Sept'ember 15, 2017, 1 filed the foregoing vv'ith the Clcrlc of the
Court using the CM/ECF system, and served all parties via ECF.

Dated: September 15, 2017

S/ Gregorv L. Warts
Gregory L. Watts

S'r 11>ULATED MOTION AND [PROPOSF,D] ORI)ER W1LSON SO_N_SINI GooDRIco & Rcsm
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Case 2:17~00~00932~JLR Docurnent' 22~;1 Filecl' 09!15/1`? Page 1 of 1

ORDER
GOOD CAUSE HAVING BEEN SHOWN, it is hereby ordered that:

1. HTC Corporation and HTC America Inc.’s deadline to move, answer, or otherwise

respond to the First Amended Complaint is October 26, 2017.

2. Nothing in this Order shall be construed as a Waiver of any argument, right or

defense of any party.

IT IS SO OR])ERED.

ha
Dated this iS. day of §g%_‘\_ ,20.17.

Prese'nted by:

Gregory L. Watts, WSBA #43995

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APPRovING EXTENSION TO RESPONI) To FlRST
AMENI)F.n COMPLAINT

CASE No. 2:17-Cv-00932-JLR

  

 

HoNo LE JAMES L. RoBART
UN1TED s ATES DISTRICT JUDGE

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